Case 1:19-cv-12358-LTS Document 20-1 Filed 02/07/20

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
CASE NUMBER: 1:19-cv-12358-LTS

 

PILGRIM INSURANCE
COMPANY,
Plaintiff,

Vv.

WESTFIELD TRANSPORT, INC.,
VOLODOYMYR ZHUKOVSKYY,
DARTANYAN GASANOV,
JOSHUA MORIN, JOYANN M.
MORIN, ESTATE OF MICHAEL
FERAZZI, BY AND THROUGH
ITS EXECUTRIX SHIRLEY
FERAZZI, EMANUEL RIBIERO,
STEVEN LEWIS, ESTATE OF
EDWARD CORR, BY AND
THROUGH ITS SPECIAL
PERSONAL REPRESENTATIVE
ALYCIA MAREGNI, ESTATE OF
JOANNE CORR, BY AND
THROUGH ITS SPECIAL
PERSONAL REPRESENTATIVE
ALYCIA MAREGNI, ESTATE OF
DANIEL PEREIRA, BY AND
THROUGH ITS
ADMINISTRATRIX HELEN
PEREIRA, ESTATE OF AARON
PERRY, BY AND THROUGH ITS
EXECUTOR WILLIAM PERRY,
ESTATE OF DESMA OAKES, BY
AND THROUGH ITS EXECUTRIX
MORIAH TIDWELL, ESTATE OF
ALBERT MAZZA, BY AND
THROUGH ITS
ADMINISTRATRIX BRITTANY
MAZZA, DOUGLAS HAYWARD,
BRENDA HAYWARD, DAVID
BARK, MARY LOU WELCH,
VALERIE RIBIERO, PATRICIA
SWEENEY, WILLIAM HOOKER,
DANA THOMPSON, DAWN

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EXHIBIT

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BRINDLEY, MATTHEW
FERAZZI, BRIAN FERAZZI, and
KEVIN FERAZZI,

Defendants.

 

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hand

AFFIDAVIT OF ATTORNEY MICHAEL J. MERRIAM IN SUPPORT OF
PILGRIM INSURANCE COMPANY’S MOTION FOR ENLARGEMENT OF

TIME FOR SERVICE OF PROCESS AS TO CERTAIN DEFENDANTS
PURSUANT TO F.R.C.P. 6(b) AND LOCAL RULE 4.1(b)

I, Michael J. Merriam, do depose and state under oath as follows:
My name is Michael J. Merriam. I am an attorney licensed to practice in the
Commonwealth of Massachusetts and the United States District Court for the
District of Massachusetts.
I have been retained by Pilgrim Insurance Company (“Pilgrim”) to file a
declaratory judgment action on its behalf and interplead its policy limits into court
as the result of a multi-party/multi-fatality accident which occurred on June 21,
2019.
Since that time, my office and Pilgrim Insurance Company have been diligently
obtaining the information for 23 claimants and their counsel who allege injury as
a result of the accident.
I amended the declaratory judgment complaint to on or about December 20, 2019
to add additional parties and estate representatives.
Since that time, I have sent the amended complaint out for service or agreements
to waive service to all of the parties and their counsel.
Several parties and their counsel are located in New Hampshire and New

Hampshire counsel are in the process of being admitted to this Court pro hac vice
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prior to agreeing to sign the waiver of service.

Ts I have sent the summons and complaint to be served or agreements for waiver of
service to Joyann Morin, Joshua Morin, Emanuel Ribiero, and Steven Lewis and
am awaiting the return of the service or waiver documents.

8. There is good cause to extend time for service as to these defendants as this is a
complicated multi-party case with numerous injuries and fatalities. Pilgrim and I
have been diligent in identifying all of the injured parties to ensure that they have’

notice of this proceeding.

Signed under the pains and penalties of perjury by: A

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Michael J. Merriam, Eeq}

Dated: February 7, 2020
